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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA,

      v.                                               Case No.: 3:14-cr-59-RV

JOHN DAVID CASTLEBERRY,
MARK DOUGLAS STOKES,
and MELINDA STOKES, et al.,

            Defendants.
___________________________/
                                         ORDER
      There are several pre-trial motions pending before the court (docs. 190, 191,
192, 193, 194, 195, 196, 197). Before turning to these motions, I will very briefly
set out the background of this case.
      The defendants, John D. Castleberry, Mark Stokes, Melinda Stokes, and five
other individuals, have been charged by indictment with tax-related offenses. They
were appointed counsel by the court, after which the case against Castleberry was
set for trial on October 6, 2014, and the trial against the Stokes was scheduled for
November 3, 2014. The cases were thereafter consolidated for trial and put on the
November 2014 calendar. In the orders setting trial, the defendants (and their then-
attorneys) were specifically instructed that any requests for discovery “shall be
made no later than five (5) working days following the date of this order” and “all
pretrial motions . . . shall be filed no later than ten (10) days after the date of this
order,” which was September 23, 2014.
      Thereafter, on October 22, 2014, the district judge originally assigned to the
case, Senior Judge Lacey Collier of this court, conducted a hearing on a motion to
withdraw filed by Mr. Stokes’ attorney pursuant to Faretta v. California, 422 U.S.
806, 95 S. Ct. 2525, 45 L. Ed. 2d 562 (1975) (holding that a criminal defendant
has a Sixth Amendment right to represent himself if he voluntarily elects to do so).
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At or around the time of the Faretta hearing, Ms. Stokes and Castleberry moved to
represent themselves at trial as well. During a lengthy colloquy with Judge Collier,
the defendants were told, inter alia, of the dangers inherent in self-representation,
and they were advised that they would be expected to comply with the rules and
orders of the court. Judge Collier granted their request to represent themselves,
and he then continued the trial until January 2015 based on the fact that three of
the eight defendants in the case were now representing themselves and “this case
contains voluminous documentation requiring review in advance of trial.” The trial
was thus continued to January 6, 2015, which gave the defendants an additional
two months to prepare. The trial begins next week, and the defendants have now
filed a number of last minute motions, eight of which are still pending.
       First, the defendants have filed substantively identical motions to continue
the trial (docs. 190, 191, 192). The gist of these motions is that the defendants,
due to their incarcerated status, have not had sufficient time and opportunity to
“peruse” discovery materials, subpoena their witnesses, and conduct depositions.
As noted, this trial was previously continued to give the defendants an additional
two months to prepare after they elected to represent themselves, and the trial is
now scheduled to begin in less than one week. These motions are DENIED.
       The defendants have next filed substantively identical documents entitled
“File for the Record” (docs. 193, 194, 195), and attached to those filings are the
functional equivalent of eight (8) motions that ask for: (1) all evidence that was
presented to the grand jury; (2) all discovery and documents that the government
intends to offer as evidence; (3) a copy of “STATUTES AT LARGE that is the true
legislative written law”; (4) dismissal of the case for “lack of territorial jurisdiction”;
(5) dismissal based on a “Personal Jurisdictional Challenge”; (6) another request for
dismissal based on a “TERRITORIAL JURISDICTIONAL CHALLENGE”; (7) leave to
file a “Court of Record Action Against All Men” associated with this prosecution;


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and (8) dismissal based on a “SUBJECT MATTER JURISDICTIONAL CHALLENGE.”
These three documents, to the extent they are construed as motions, are DENIED
as frivolous, untimely, and/or moot in light of the discovery already provided to the
defendants.
       In addition to the above documents filed by all three defendants, Castleberry
has filed a separate document containing nineteen (19) independent “TERRITORIAL
JURISDICTION CHALLENGES” (doc. 196). That motion must be, and is, DENIED as
frivolous. He has also filed a document entitled “Motion Requesting Assistance in
Obtaining All Addresses, Etc., for Subpoena Service” (doc. 197), in which he asks
the court to “provide any/all assistance needed to obtain the necessary information
for service of ALL subpoenas”. That motion is DENIED at this time.


       DONE AND ORDERED this 31st day of December, 2014.


                                        /s/Roger Vinson
                                       ROGER VINSON
                                       Senior United States District Judge




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